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JAMES WYDA
FEDERAL PUBLIC DEFENDER


                                                                  January 16, 2018

          The Hon. Marvin J. Garbis
          United States District Judge
          District of Maryland
          101 West Lombard Street – Chambers 5C
          Baltimore, Maryland 21201

                    Re:       United States v. Harold T. Martin, III
                              Crim. No. MJG-17-0069

          Dear Judge Garbis:

                 The defense requests a cancellation of the Rule 11 guilty plea hearing currently
          scheduled for January 22, 2018. The parties are continuing negotiations with the hope of
          resolving the entire case.

                The cancellation of the plea hearing scheduled for January 22nd requires no additional
          change in the Court’s current schedule for this case. We do not need a new date to be
          scheduled at this time.

                                                          Respectfully,

                                                            /s/

                                                          James Wyda
                                                          Federal Defender

          cc: Harvey Eisenberg, Esq.
              Deborah Boardman, Esq.
